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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

SECURITIES AND EXCHANGE                             §
COMMISSION                                          §
                                                    §
V.                                                  §            A-12-CV-00033 RP
                                                    §
LIFE PARTNERS HOLDINGS, INC.,                       §
BRIAN PARDO, R. SCOTT PEDEN                         §

                            REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE

TO:     THE HONORABLE ROBERT PITMAN
        UNITED STATES DISTRICT JUDGE

        Before the Court are Plaintiff’s Security and Exchange Commission’s Motion to Enter

Judgment on Remand and Brief in Support (Dkt. No. 417); Defendant R. Scott Peden’s Response

(Dkt. No. 419); Defendant Brian D. Pardo’s Response (Dkt. No. 420); the Security and Exchange

Commission’s Replies (Dkt. Nos. 423 and 424); and Pardo’s Sur-Reply (Dkt. No. 426). The District

Court referred the above-motions to the undersigned Magistrate Judge for a report and

recommendation pursuant to 28 U.S.C. §636(b) and Rule 1(c) of Appendix C of the Local Rules of

the United States District Court for the Western District of Texas, Local Rules for the Assignment

of Duties to United States Magistrate Judges. Having reviewed the parties’ filings, the entire case

file, and the applicable law, the Court enters the following Report and Recommendation.

                                  I. GENERAL BACKGROUND

        This securities fraud case is before the Court after remand by the Fifth Circuit. The Honorable

James R. Nowlin presided over a jury trial in this case commencing January 29, 2014. Life Partners

Holdings, Inc. (LPHI) was in the business of facilitating the sales of life insurance policies to investors

in the secondary market, commonly referred to as life settlements. LPHI, a publicly-held company,

derived its income from the fees earned on these life settlement transactions. The Securities and
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Exchange Commission alleged that LPHI knew that its life expectancy estimates for the insureds

(whose policies were being sold) were materially short, that life expectancy estimates were of “critical

importance in determining the policy’s sale price” (854 F.3d at 773), and that LPHI should have

disclosed this knowledge in public filings as a known problem rather than an unmaterialized contingent

risk.

         At trial, the SEC alleged, and the jury ultimately found, that Brian Pardo, Scott Peden, and Life

Partners Holdings, Inc., violated Section 17(a) of the Securities Act of 1933. The jury also found that

LPHI, aided and abetted by Pardo and Peden, violated Section 13(a) of the Securities and Exchange Act

of 1934 and Rules 12b-20, 13a-1, and 13a-13 thereunder. In addition, the jury found that Pardo violated

Exchange Act Rule 13a-14 by knowingly certifying false public reports that LPHI filed with the SEC

during that period. After trial, the Court set aside the jury’s 17(a) verdicts and also declined to order

reimbursement under Section 304 of the Sarbanes-Oxley Act of 2002. Nevertheless, the Court ordered

disgorgement and civil penalties against the company and ordered Pardo and Peden to pay second-tier

civil penalties of $6,161,843 and $2,000,000, respectively. The Court also enjoined all defendants from

violating or aiding and abetting violations of Section 13(a) of the Exchange Act. SEC v. Life Partners

Holdings, Inc., 71 F.Supp.3d 615 (W.D. Tex. 2014).

         On cross-appeals, the Fifth Circuit Court of Appeals upheld the verdicts and judgments against

Pardo and Peden, reinstated the jury’s verdict finding that Pardo and Peden violated Section 17(a),

vacated the civil penalty orders, and reversed the Court’s ruling denying the SEC’s request for

reimbursement under SOX 304. The Fifth Circuit remanded this matter for reassessment of the civil

penalty amounts against Pardo and Peden, for determination of the SOX 304 reimbursement owed by

Pardo, and for determination of the remedy appropriate for the violation of Section 17(a). SEC v. Life

Partners Holdings, Inc., 854 F.3d 765 (5th Cir. 2017).

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        On remand, the SEC requests an order from the Court: (1) permanently enjoining Defendants

from future violations of all relevant securities laws; effectively adding Section 17(a) to the standing

injunctions; (2) requiring Defendants to disgorge their ill-gotten gains received as a result of their fraud;

(3) requiring each Defendant to pay civil penalties commensurate with their violations; and (4)

requiring Pardo to reimburse LPHI $13,340,371 in accordance with SOX 304. Pardo and Peden dispute

the SEC’s requested relief, asserting that the imposition and/or the amount of the requested penalties

are inappropriate.

                                             II. ANALYSIS

        A.      Permanent Injunction Pursuant to Section 17(a) of the Securities Act

        At trial, the jury found that Peden and Pardo violated section 17(a) of the Securities Act of

1933, along with section 13(a) of the Securities Exchange Act of 1934. The District Court set aside the

verdict as to section 17(a), and entered a final judgment enjoining the Defendants from committing

further violations of section 13(a). On appeal, the Fifth Circuit reinstated the jury’s finding that

Defendants violated section 17(a), and remanded the case for the Court to “provide appropriate remedy

for the appellant’s section 17(a) violations consistent with this opinion.” Id. at 789. Based upon the

Fifth Circuit’s reinstatement of the jury’s fraud finding under section 17(a), the SEC requests that the

Court enter an order permanently enjoining Defendants’ conduct under this statute as well as section

13(a). Defendants oppose the request.

        Section 21(d) of the Exchange Act allows for the entry of permanent injunctions in enforcement

actions brought by the SEC when the evidence establishes a “reasonable likelihood” that a Defendant

will engage in future violation of the securities laws. 15 U.S.C. § 77t(b); 15 U.S.C. § 78u(d)(1); SEC

v. Zale Corp., 650 F.2d 718, 720 (5th Cir. 1981). “[T]he Commission is entitled to prevail when the

inferences flowing from the defendant's prior illegal conduct, viewed in light of present circumstances,

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betoken a ‘reasonable likelihood’ of future transgressions.” Zale Corp., 650 F.2d at 720; see SEC v.

Caterinicchia, 613 F.2d 102 (5th Cir.1980); SEC v. Blatt, 583 F.2d 1325 (5th Cir. 1978). In predicting

the likelihood of future violations, courts evaluate the totality of the circumstances. ZaleCorp., 650 F.2d

at 720. In imposing a permanent injunction, courts consider a number of factors, including: the (1)

egregiousness of the defendant’s conduct; (2) isolated or recurrent nature of the violation; (3) the degree

of scienter; (4) sincerity of defendant’s recognition of his transgression; and (5) likelihood of the

defendant’s job providing opportunities for future violations. SEC v. Gann, 565 F.3d 932, 940 (5th Cir.

2009) (citing SEC v. Blatt, 583 F.2d 1325, 1334 n. 29 (5th Cir. 1978)).

        The SEC asserts that, applying these factors, the District Court and the Fifth Circuit found it

proper to enter permanent injunctions against the Defendants enjoining further violations of Section

13(a). The SEC argues that the Court’s findings supporting the Section 13(a) injunction equally support

a Section 17(a) permanent injunction. See Dkt. No. 417 at 3-8 (citing trial evidence in support of

various Gann factors).

        1.      Pardo

        Pardo argues that the Fifth Circuit’s holding on the Section 17(a) claim, reversing Judge

Nowlin’s JMOL on the jury’s Section 17(a) verdict, was based in part on its recognition that no scienter

was required for a Section 17(a)(2) or (3) violation. Pardo asserts that the Fifth Circuit based its reversal

of the Section 17(a) JMOL on the finding that there was sufficient evidence in the record to support that

Defendants “negligently represented the risk of underestimated life estimates in its January 2007

quarterly report.” Id. at 786. Pardo, relying on SEC v. Blatt, 583 F.2d 1325, 1333 (5th Cir. 1978),

argues that the SEC must prove scienter in order to obtain a permanent injunction. Blatt states that, “to

justify an injunction on the basis of past violations the Commission must prove that the defendant

possessed scienter, defined by the Supreme Court as ‘a mental state embracing intent to deceive,

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manipulate, or defraud.’” Id. (citing Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193 (1976)). Because,

Pardo argues, the Fifth Circuit’s reversal of the District Court was based upon a single, negligence-

based violation of the statute, it is insufficient to support the imposition of a permanent injunction as

to Section 17(a).

        The SEC responds that scienter is merely one factor the Court must consider in determining

whether to impose a Section 17(a) injunction. It quotes from the Fifth Circuit’s decision in ZaleCorp

that “it is not a single factor, but rather the sum of the circumstances surrounding the defendant and his

past conduct that governs whether to grant or deny injunctive relief.” ZaleCorp., 650 F.2d at 720.

Additionally, the SEC argues that the District Court set aside the Section 17(a) jury verdict for lack of

evidence within the proper time period, and not because of a lack of scienter. Judge Nowlin stated:

        The Court did not set aside the jury’s Section 17 verdict aside [sic] on account of a lack
        of evidence that Defendants had committed securities fraud. Instead, the Court was
        forced to set the jury’s finding aside because the Commission had limited its allegations
        to a very specific period of time and the evidence the SEC presented did not support a
        finding that Defendants had committed securities fraud during the specific time alleged.
        The record did indeed contain evidence that Defendants knowingly or at least recklessly
        violated the securities laws of this nation.

71 F.Supp.3d at 626 n.1.; Dkt. No. 304 at 4 n.1.

        The Court finds that scienter is indeed just one factor to be considered in assessing whether a

permanent injunction is appropriate under Section 17(a). The language in the Blatt case, upon which

Pardo relies, is not determinative. In a later case, regarding another set of factors similar to those set

forth in Gann and Blatt used to determine the propriety of injunctive relief, the Fifth Circuit stated,

“when analyzing a case, lists of factors such as in [ ] generally are not exclusive, nor is each factor

always relevant. Circumstances can alter what facts should be evaluated. Factors are meant to guide

courts as they consider evidence in a case and form remedies.” SEC v. Kahlon, 873 F.3d 500, 507 (5th

Cir. 2017). Therefore, scienter is just one factor to be considered in determining whether to impose a

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Section 17(a) injunction. See SEC v. Kahlon, 2016 WL 5661642 (E.D. Tex. Sept. 30, 2016) (citing SEC

v. Calvo, 378 F.3d 1211, 1216 (11th Cir. 2004) (citations omitted) (“while scienter is an important

factor in this analysis, it is not a prerequisite to injunctive relief.”).

        In determining whether to impose a Section 17(a) injunction, the SEC argues that the Court may

rely on the same facts buttressing Judge Nowlin’s imposition of a Section 13(a) injunction. Pardo

argues that a single Section 17(a) violation based upon a negligent misrepresentation under 17(a)(2)

or (3) is insufficient to support a Section 17(a) injunction. Pardo’s argument is based upon the Fifth

Circuit’s finding that the January 2007 quarterly report was sufficient evidence to support the jury’s

verdict on Section 17(a),which he asserts is the only basis for the imposition of a Section 17(a)

injunction.

        Pardo is incorrect. Having found that Pardo violated the securities laws, the Court need only

decide whether there is a reasonable likelihood of future violations, and assessing this likelihood allows

the Court to take        all circumstances and violations into account. See SEC v. Offill, No.

3:07-CV-1643-D, 2012 WL 1138622, at *4 (N.D. Tex. Apr. 5, 2012). The Court may consider all

evidence presented at trial, including the evidence supporting the Section 13(a) permanent injunction,

in considering whether to impose a Section 17(a) permanent injunction.

        2.       Peden

        Peden argues that the SEC’s request for a Section 17(a) injunction lacks evidentiary support.

Peden asserts that the Court must conduct an evidentiary hearing to assess the various Gann factors

before implementing an injunction. He argues that the SEC presented no evidence at trial establishing

a reasonable likelihood that Peden will violate the relevant securities laws in the future. Peden asserts

that no jury finding exists supporting a finding of fraud against him, and asks the Court to make a



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specific ruling that there was no finding of fraud against him. He also argues that the injunction

proposed by the SEC is an impermissible “obey the law” injunction.

        With regard to Peden’s argument that there was no “fraud” finding against him, it is without

merit. Securities Act § 17(a) makes it:

        unlawful for any person in the offer or sale of any securities[,] ...by the use of any
        means or instruments of transportation or communication in interstate commerce or by
        use of the mails, directly or indirectly

                (1) to employ any device, scheme, or artifice to defraud, or

                (2) to obtain money or property by means of any untrue statement of a material
                fact or any omission to state a material fact necessary in order to make the
                statements made, in light of the circumstances under which they were made, not
                misleading; or

                (3) to engage in any transaction, practice, or course of business which operates
                or would operate as a fraud or deceit upon the purchaser.

15 U.S.C. § 77q(a). The Fifth Circuit upheld the Section 17(a) jury verdict stating,

        Thus, the jury properly could have found that the appellants committed violations of
        section 17(a)(2) or 17(a)(3). Consequently, we conclude that the jury’s verdict is
        supported by substantial evidence. The record shows: well before 2007, the appellants
        knew that they had a problem with viatical LEs; LPHI had the ability to easily assess
        the accuracy of its LEs; Piper offered to “grade” Cassidy’s LEs, but Pardo instructed
        her not to do so; and Rubin testified that by 2007 it was “becoming clear” that LPHI
        had a problem with its life-settlement LEs. This is more than a scintilla of evidence that
        the appellants negligently misrepresented the risk of underestimated LEs in its January
        2007 quarterly report, which incorporated LPHI’s prior annual report.

SEC v. Life Partners Holdings, Inc., 854 at 786. Sections 17(a)(2) or 17(a)(3) clearly contemplate and

include fraud. Additionally, Judge Nowlin stated, “the Court did not set [ ] the jury’s Section 17 verdict

aside on account of a lack of evidence that Defendants had committed securities fraud.” 71 F.Supp.3d

at 626 n.1.; Dkt. No. 304 at 4 n.1. The record and evidence supports that Peden committed fraud.

        As to the SEC’s requested Section 17(a) injunction qualifying as an “obey the law” injunction,

this claim is also without merit. As addressed by the Fifth Circuit, “injunctions are problematic when

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they order a defendant to obey the law but do not simultaneously indicate what law the defendant needs

to obey. They are not problematic when they order a defendant to obey a specific law.” Life Partners,

854 F.3d at 785 (citing In re Rodriguez, 695 F.3d 360, 369 (5th Cir. 2012)). “The district court’s

injunctions in this case ordered the appellants to obey section 13(a) by refraining from specified

conduct. Accordingly, we affirm the district court's injunctions.” Id. The Court is mindful that any

injunction it enters must be as specific as its prior Section 13(a) injunction.

        The Court finds that Peden’s argument that the SEC’s request for a Section 17(a) injunction

lacks evidentiary support is without merit.

        3.      Application of the Gann Factors/Evidentiary Basis for Section 17(a)Permanent
                Injunction1

        The commission of past illegal conduct is highly suggestive of the likelihood of future

violations. See SEC v. Cavanagh, 2004 WL 1594818, at *28 (S.D.N.Y. 2004). The Fifth Circuit upheld

the District Court’s analysis of the propriety of a Section 13(a) permanent injunction. See S.E.C. v. Life

Partners Holdings, Inc., 854 F.3d 765, 784 (5th Cir. 2017). The District Court’s analysis applies

equally to a Section 17(a) permanent injunction as it is part of the totality of Defendants’ egregious

conduct.

        Applying the Gann factors in imposing a Section(a) 13 permanent injunction, the District Court

determined that Defendants’ conduct was egregious, and was recurrent in that Defendants caused LPHI

to file multiple misleading reports over many years. S.E.C. v. Life Partners Holdings, Inc., 71 F.Supp.3d

615, 618-20 (W.D. Tex. 2014). This Court adds to that long list of misleading reports the January 2007

quarterly report which the Fifth Circuit found supports the Section 17(a) jury verdict, as it includes the



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         Defendants request an evidentiary hearing for the Court’s analysis of the Gann factors. The
Court finds that the evidence presented at trial is adequate for this purpose.

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same kind of misleading information that supported the Section 13(a) violations. The District Court

additionally noted that “the record contains a great deal of evidence that Defendants understood that

Life Partners may not have been complying with the company’s legal obligations. Nevertheless, the

evidence suggests that Defendants resisted any change in course.” Id. at 619. Furthermore, the District

Court considered that Defendants did not seem to recognize the severity of their transgressions as they

did not change their business practices. Id. In1991 Pardo settled a case against him brought by the

SEC, and in doing so agreed to a permanent injunction prohibiting him from violating Section 13(a)

of the Exchange Act. In 2007, LPHI settled a suit filed by Colorado securities regulators asserting that

Defendants’ use of short LE’s violated Colorado securities laws and ousted Life Partners from the

Colorado market. Id. Despite this, Defendants did not change their business practices going forward.

The District Court found this evidence sufficient to show a “reasonable likelihood” of future

transgressions supportive of a Section 13(a) permanent injunction. Id. at 620. This Court also relies

on the same evidence in finding that a “reasonable likelihood” of future transgressions exists sufficient

to support a Section 17(a) permanent injunction.

        Additionally, in its Motion, the SEC cites to a litany of record evidence supporting the

“reasonable likelihood” of future transgressions and the propriety of the imposition of a permanent

injunction. The Court finds this evidence additionally supports the imposition of a Section 17(a)

permanent injunction. First, the evidence in the record supports the egregiousness of Defendants’

conduct. Exs. G-26-G-30, G-46-G-58, G-371E-G371-V, Dkt. No. 263 at 65, 156; Dkt. No 262 at 41-45,

168-69, Dkt. No. 264 at 63,10, Dkt. No. 265 at 59. Second, the evidence presented at trial supports that

the violations were recurrent and not isolated. Exs. G-26-G-30, G-46-G-58, G-371E-G371-V, Dkt. No.

64 at 59,63. While neither the Fifth Circuit nor the District Court made a finding of scienter (although



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the District Court did not specifically exclude the existence of scienter),2 the evidence at trial supports

a finding that Defendants knowingly or at least recklessly violated securities laws.3 Exs. G-85, G-101,

G-107, G-134,G-137, G-141, G-143, G-180, G-195, G-381. With regard to the Defendants’ sincere

recognition of their transgressions, the evidence also supports that Defendants have not admitted their

wrongdoing or acknowledged their actions were harmful, before or during the instigation of the case

by the Commission. Dkt. 262 at 42-43, 48, 112-23,136, Ex. G-195, Dkt. 265 at 15, Dkt. No. 293-2 at

5; Dkt. 263 at 22-23. Additionally, the record evidence shows that the likelihood of recidivism is high

for both Pardo and Peden. Their past conduct alone supports such a finding. Exs. G-26-G-30, G-46-G-

58, G-371E-G371-V, Dkt. No. 263 at 65, 156; Dkt. No 262 at 41-45, 168-69, Dkt. No. 264 at 63,10,

Dkt. No. 265 at 59.

        The Court finds that this evidence supports imposition of a Section 17(a) permanent injunction.

In light of the Defendants’ conduct in this case and the factors set forth in Gann, a permanent injunction

as to Pardo and Peden is necessary to protect the public from future securities violations under 17(a).

        B.      Disgorgement of Ill-Gotten Gains

        The SEC asserts that, in light of the Fifth Circuit’s reinstatement of the Section 17(a) verdict,

the District Court must consider whether that verdict warrants an order of disgorgement against Pardo

and Peden. The SEC moves for disgorgement for the five year limitation period, from 2007-2011, in


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          The District Court stated “the record did indeed include evidence that Defendants
knowingly–or at least recklessly–violated the securities laws of this nation. 71 F.Supp.3d at 626 n.1.
To establish scienter, a plaintiff must show the defendant intended to deceive, defraud, or manipulate,
or that the defendant acted with severe recklessness. Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 251
(5th Cir. 2009). Severe recklessness is limited to “highly unreasonable omissions or misrepresentations”
involving an “extreme departure from the standards of ordinary care.” Nathenson v. Zonagen, Inc., 267
F0.3d 400, 408 (5th Cir. 2001).
        3
        The Court notes that even without any finding of scienter, the facts presented at trial support
the imposition to a Section 17(a) permanent injunction.

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the amount of $2,553,029 in salary for Pardo, $1,586,720 in bonus for Pardo, $777,087 in salary for

Peden, and $1,596,532 in bonus for Peden. Dkt. No. 417 at 11. Judge Nowlin declined to order

disgorgement for Defendants’ Section 13 violations.

        Defendants oppose the disgorgement. Pardo argues that there is no fraud upon which the SEC

can base its disgorgement argument. Pardo maintains that because the Fifth Circuit’s finding was based

upon its conclusion that the jury’s Section 17(a) verdict was supported by the evidence, only because

no scienter was required for 17(a)(2) and (3) violations. Citing Kokesh v. SEC, — U.S. — , 137 S.Ct.

1635, 1643-144 (2017), Pardo argues that disgorgement is punitive rather than compensatory; and that

therefore, scienter is a prerequisite to imposing a disgorgement remedy. Dkt. No. 420 at 13. Pardo

additionally asserts that the Fifth Circuit’s finding that Pardo and Peden violation Section 17(a), based

upon a single negligent misrepresentation in the January 2007 10-Q, is insufficient to base

disgorgement of compensation and bonuses from 2007 to 2011. He asserts there is no causal relation

to the Section 17(a) violation, and that the SEC has failed to carry its evidentiary burden.

        Peden asserts that, in seeking an order of disgorgement, the SEC must present evidence

supporting the amount of ill-gotten gains it requests be disgorged. Peden argues that the SEC has failed

to present evidence connecting the amount sought to be disgorged with the claimed violations. Peden

also argues that the SEC could have sued other officeers and directors, because if Peden’s salary and

bonus qualify as ill-gotten gains, those individuals do as well.

        “The district court has broad discretion not only in determining whether to order disgorgement

but also in calculating the amount to be disgorged.” SEC v. Huffman, 996 F.2d 800, 802 (5th Cir. 1993).

The purpose of disgorgement “is to deprive the party or parties responsible for the fraud of their gains

and to deter future violations of the law.” SEC v. Helms, 2015 WL 5010298, at *19 (W.D. Tex. Aug.

21, 2015) (citing SEC v. AMX, Int'l, Inc., 7 F.3d 71, 73 (5th Cir. 1993)). In actions brought by the SEC

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involving a securities violation, “disgorgement need only be a reasonable approximation of profits

causally connected to the violation.” Allstate Ins. Co. v. Receivable Fin. Co., 501 F.3d 398, 413 (5th

Cir. 2007) (quoting SEC v. First City Fin. Corp., 890 F.3d 1215, 1231 (D.C. Cir. 1989)). The SEC

bears the initial burden of showing that its requested disgorgement amount reasonably approximates

the amount of profits connected to the violation. First City, 890 F.2d at 1232; SEC v. Rockwall Energy

of Tex., LLC, 2012 WL 360191, at *3 (S.D. Tex. Feb. 1, 2012). Once the SEC meets its burden, the

burden shifts to the defendant to “demonstrate that the disgorgement figure was not a reasonable

approximation.” First City, 890 F.2d at 1232.

       The Court agrees with Pardo and Peden that the SEC has failed to carry its initial evidentiary

burden with regard to the requested disgorgement. The SEC has failed to establish that the amount

requested as disgorgement are profits “causally connected to the violation.” Allstate, 501 F.3d at 413.

Although the Court recognizes “the disgorgement figure should include all gains flowing from the

illegal activities” and does not have to be exact, the Court is unable to ascertain the profits the

Defendants received from the conduct at issue. SEC v. Huff, 758 F. Supp. 2d 1288, 1356 (S.D. Fla.

2010). The SEC has merely identified the salaries and bonuses paid to Pardo and Peden during the five

year limitations period. While the impact of uncertainty regarding the disgorgement amount should

usually fall on the wrongdoer, in this case, any order of disgorgement would be less an approximation

and basically be speculative. “[T]he SEC cannot satisfy its burden to reasonably approximate a

disgorgement amount merely by proving the violations” by simply stating the salaries and bonuses

Pardo and Peden received from the transactions were all profits; “[w]ithout proof, a court cannot

speculate[.]” SEC v. Wyly, 56 F. Supp. 3d 260, 269 (S.D.N.Y. 2014) (emphasis in original).

       The Court finds that the SEC has presented insufficient proof that Pardo and Peden’s entire

salaries and bonuses flowed from illegal activities. Because the SEC has failed to bear its initial

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burden and establish that its requested disgorgement amount reasonably approximates the amount of

profits connected to the violation, the Court declines to recommend disgorgement against Pardo and

Peden.

         C.     Civil Penalties under Section 17(a)

         The SEC “asks the Court to order Pardo and Peden to pay a third-tier civil penalty in an mount

it deems appropriate.” Dkt. No. 417 at 19. Section 20(d) of the Securities Act and Section 21(d)(3)

of the Exchange Act authorize the Court to assess civil penalties. 15 U.S.C. §§ 77t(d), 78u(d). Such

penalties “are designed to serve as deterrents against securities law violations, in contrast with

disgorgement, which primarily aims to remove a defendant’s profit from illegal transactions and which

merely places the offender in the same position he would have been had he not committed the offense.”

SEC v. Helms, 2015 WL 5010298, at *21 (W.D. Tex. Aug. 21, 2015) (citation omitted).

         There are three tiers of penalties, each with a different required showing. All violations are

subject to first-tier penalties. 15 U.S.C. §§ 77t(d), 78u(d). Second-tier penalties are warranted when

violations involve “fraud, deceit, manipulation, or deliberate or reckless disregard of a regulatory

requirement.” Id. Third-tier penalties are appropriate for violations that involve fraud and “result[ ] in

substantial losses or create[ ] a significant risk of substantial losses to other persons.” Id. Because

Pardo and Peden’s Section 17(a) violation occurred in 2007, the maximum penalty is $6,500 per

violation for a first-tier penalty, $65,000 per violation for a second-tier penalty, and $130,000 per

violation for a third-tier penalty. 17 C.F.R. § 201.1005. The maximum penalty the Court may award

is the greater of the gross amount of pecuniary gain or the amount set by statute, i.e., set by the

applicable tier. 15 U.S.C. §§ 77t(d), 78u(d)(3).

         While the maximum penalty is determined by statute, the amount imposed is left to the Court’s

discretion. SEC v. Kern, 425 F.3d 143, 153 (2d Cir. 2005). In determining the amount, courts consider

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the same factors used to analyze the appropriateness of injunctive relief. See SEC v. Coplan, 2014 WL

695393 at *9 (S.D. Fla. Feb. 24, 2014) (“Because civil penalties, like a permanent injunction, are

imposed in part to deter the wrongdoer from similar conduct in the future, courts apply the same factors

for determining injunctive relief in assessing civil penalties.”) (internal quotation marks omitted)

(quoting SEC v. Gane, 2005 WL 90154, at *20 (S.D. Fla. Jan. 4, 2005)); see SEC v. Offill, 2012 WL

1138622, at *3 (N.D. Tex. Apr. 5, 2012) (noting that in determining civil penalties, a court considers

the following factors: (1) the egregiousness of the defendant’s conduct; (2) the degree of the

defendant’s scienter; (3) whether the defendant’s conduct created substantial losses or the risk of

substantial losses to other persons; (4) whether the defendant’s conduct was isolated or recurrent; and

(5) whether the penalty should be reduced due to the defendant’s demonstrated current and future

financial condition).

        Based upon the above-factors and based upon the reasons stated in the above-sections, the

Court finds it appropriate to impose third-tier penalties against Pardo and Peden in this case. Because

the Court has already awarded significant penalties in this case, the Court finds that a penalty of

$130,000 against Pardo and Peden is appropriate for the Section 17(a) violations.

        D.      Recalculation of Pardo and Peden’s Section 13(a) Penalties

        Based upon the jury’s verdict on Pardo and Peden’s aiding and abetting of LPH’s violation of

Section 13(a) and rules thereunder, the District Court assessed second-tier civil penalties of $6,161,843

against Pardo and $2,000,000 against Peden, finding that their conduct was, at the very least, reckless.

On appeal, Pardo and Peden argued that the District Court erred in imposing second-tier penalties

because the jury verdict did not establish any “fraud, deceit, manipulation, or deliberate or reckless

disregard of a regulatory requirement” on their part, as the statute requires. 15 U.S.C. § 78u(d)(3)(B)(ii).



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The Fifth Circuit disagreed and affirmed the District Court’s imposition of second-tier penalties under

Section 13(a) reasoning the following:

        Rather than conflict with the jury's verdict, however, the district court's finding of
        recklessness was required by it. As we noted above, to find that the appellants aided and
        abetted LPHI’s violations of section 13(a), the jury had to find that they had knowledge
        of LPHI’s violation and of their role in furthering it. And, as previously explained, the
        SEC's theory at trial was that LPHI violated section 13(a) by misrepresenting the known
        fact that its LEs were short as a contingent risk. The appellants were LPHI’s top officers
        and the ones who created, signed, and certified filings containing the relevant
        misrepresentations. If the appellants had knowledge of LPHI’s violations and of their
        role in furthering them, as the jury found, they also necessarily exhibited “deliberate or
        reckless disregard of a regulatory requirement.”

Life Partners, 854 F.3d at 782 (internal citations omitted).

        In assessing the amount of the civil penalties, the District Court determined that Pardo was

responsible for sixty-eight individual violations and that Peden was responsible for eighty-five

violations. The District Court reached these numbers by multiplying the number of statutory and

regulatory provisions the appellants had violated by the number of LPHI’s false filings with the SEC.

The Fifth Circuit rejected all of Pardo and Peden’s challenges to the District Court’s Section 13(a)

calculations on appeal. See Id. at 782-83. However, the SEC conceded on appeal that “section 13(a)

cannot serve as the basis for an independent violation in this case,” and that “the district court’s

calculation was flawed because it included purported violations of Rule 13a–1, which pertains to Form

10–Ks, in connection with Form 10–Qs and purported violations of Rule 13a–13, which pertains to

Form 10–Qs, in connection with Form 10–Ks.” Id. at 783. In light of these concessions by the SEC,

the Fifth Circuit vacated the District Court’s assessment of civil penalties against Pardo and Peden and

remanded the case “for recalculation of the number of violations without the flaws conceded by the

SEC and for reassessment of the amounts of civil penalties imposed on the appellants.” Id.

Accordingly, the Court must now recalculate those civil penalties.


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       With regard to Pardo, the SEC initially proposed, and the District Court found, 85 total

violations by Pardo. Dkt. No. 293 at 18 n.14; Dkt. 304 at 15. This proposed calculation was based on

17 separate filings of 10-Q and 10-K reports made from January 16, 2007 through January 10, 2011.

Id. The SEC had treated each filing as a violation of five different provisions: Exchange Act Section

13(a); Rule 12b-20, Rule 13a-1, Rule 13a-13, and Rule 13a-14. Id. However, the evidence shows that

each filing violates three provisions, not five. Dkt. No. 417 at p. 17. The evidence shows that LPHI,

aided and abetted by Pardo, violated Section 13(a) and Rules 12b-20, 13a-1, and 13a-13, and that Pardo

violated Rule 13a-14, each of the 13 Forms 10-Q filed by LPHI between January 16, 2007 and January

10, 2011 violated Rules 12b20, 13a-13, and 13a-14. In addition, each of the four Forms 10-K filed

during that period violated Rules 12b-20, 13a-1, and 13a-14. Assuming that each filing represents three

violations, Pardo committed 51 violations, and his maximum second-tier civil penalty would be

$3,555,000. Dkt. No. 417-B. For the reasons previously stated by the District Court, Dkt. 304 at 14-15,

Pardo should pay the maximum civil penalty for his violations of Section 13(a).

       With regard to Peden, the District Court initially found 68 violations based on the same LPHI

filings. Dkt. 304 at 14. The evidence in the record, however, shows that Peden only committed 34

violations, and that his maximum second-tier civil penalty would be $2,370,000. Dkt. No. 417 at 17;

Dkt. No. 417-C. Based upon the District Court’s previous finding that it “would not be equitable” to

order the maximum penalty, Dkt. 304 at 14, against Peden, the Court finds that Peden should pay the

reduced amount of $2,000,000 for the Section 13(a) violations.

E.     Reimbursements under Section 304 of SOX

       1.      The Statute

       “Section 304 of the Sarbanes–Oxley Act of 2002 provides for the forfeiture of certain bonuses

and profits when corporate officers fail to comply with securities law reporting requirements.” In re

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Digimarc Corp. Derivative Litig., 549 F.3d 1223, 1229 (9th Cir. 2008). Section 304(a) provides, in

relevant part, the following:

        If an issuer is required to prepare an accounting restatement due to the material
        noncompliance of the issuer, as a result of misconduct, with any financial reporting
        requirement under the securities laws, the chief executive officer and chief financial
        officer of the issuer shall reimburse the issuer for--

                (1) any bonus or other incentive-based or equity-based compensation
                received by that person from the issuer during the 12-month period
                following the first public issuance or filing with the Commission
                (whichever first occurs) of the financial document embodying such
                financial reporting requirement; and

                (2) any profits realized from the sale of securities of the issuer during
                that 12-month period.

15 U.S.C. § 7243(a) (hereinafter § 304).

        Thus, by its express terms, Section 304 “requires CEOs and CFOs to reimburse their company

for any bonus or similar compensation, or any profits realized from the sale of company stock, for the

12-month period following a false financial report, if the company ‘is required to prepare an accounting

restatement due to the material noncompliance of the [company], as a result of misconduct.’” Cohen

v. Viray, 622 F.3d 188, 193 (2nd Cir. 2010) (quoting 15 U.S.C. § 7243(a)). Congress enacted SOX

“[a]fter a series of celebrated accounting debacles,” Free Enter. Fund v. Pub. Co. Accounting Oversight

Bd., 561 U.S. 477, 484 (2010), and it is “a major piece of legislation bundling together a large number

of diverse and independent statutes, all designed to improve the quality of and transparency in financial

reporting and auditing of public companies.” Carnero v. Boston Sci. Corp., 433 F.3d 1, 9 (1st Cir.),

cert. denied, 548 U.S. 906 (2006). Notably, Section 304 does not create a private right of action and

“only the SEC has authority to enforce § 304. . . .” Cohen, 622 F.3d at 194-195.




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        2.      The Trial and Appellate Rulings on the SEC’s Claim Under Section 304

        In the SEC’s Motion to Enter Judgment filed after the jury trial in this case, the SEC asked the

District Court to order Pardo to reimburse LPHI $13,340,371 in certain bonus, incentive and equity-

based compensation he received in connection with his employment for the company as required by

§ 304. To succeed on its Section 304 claim, the SEC had to demonstrate that: (1) LPHI was required

to prepare an accounting restatement due to material non-compliance with financial reporting

requirements; (2) that the non-compliance was caused by misconduct within LPHI; and (3) Pardo

received bonuses, incentive based or equity based compensation, or profits from sales of LPHI’s

securities during the twelve month period after the first improper public issuance of the filing. SEC v.

AgFeed Indus., Inc., 2016 WL 10934942, at *25 (M.D. Tenn. July 21, 2016). Although the SEC

alleged in its Amended Complaint that LPHI was “required to prepare accounting restatements for every

quarter of fiscal years 2007 and 2010 as well as the first three fiscal quarters of fiscal year 2011,” Dkt.

No. 67 at 56, the SEC’s Motion to Enter Judgment only relied on a restatement filed by LPHI on

November 22, 2011, which restated its financial statements for Fiscal Years 2009 and 2010. Dkt. No.

246-G 31 at 3 (“In this Form 10-K, we are restating our Consolidated Financial Statements for the fiscal

years ended February 28, 2010 and 2009 (‘fiscal 2010' and ‘fiscal 2009' year respectively).”). The SEC

has failed to point to any other restatement filed by LPHI in support of their Section 304 claim.

        In the 2011 restatement, “LPHI restated its financial statements for fiscal years 2009 and 2010

because its prior quarterly and annual reports did not comply with generally accepted accounting

principles (GAAP).” Life Partners, 854 F.3d at 786. The restatement explained that it had to restate

its consolidated financial statements for 2009, 2010, and the first three quarters of 2011, to properly

state, inter alia, investment in policies, which “had been incorrectly accounted for under [GAAP].’” Id.

LPHI further stated that its restatement was related, in part, to “impairment expense for owned

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policies.” Id. The restatement also contains an explanation of a disagreement between LPHI and Ernst

& Young, its auditor, regarding LPHI’s revenue recognition policy. Id. The restatement further

indicates that LPHI accepted Ernst & Young’s new position and applied the new revenue recognition

policy both prospectively and in restating its prior financial statements. Id.

        Although the District Court found that “there is no question that LPHI restated its financials due

to material non-compliance or that Pardo received incentive based compensation during the relevant

period,” it also concluded that “there is insufficient evidence that LPHI’s restatement was caused by

misconduct.” Dkt. No. 304 at 17. Specifically, the District Court found that the evidence did not

establish that LPHI’s noncompliance with financial reporting requirements was caused by misconduct

as opposed to “good faith reliance on the mistakes of its external auditor.” Id. at 18. Accordingly, the

District Court ruled that “Pardo is not required to pay anything back under SOX 304.” Id.

        The SEC appealed the District Court’s ruling that LPHI’s noncompliance was not necessarily

caused by misconduct. As the Fifth Circuit noted, there was “no dispute that the remaining elements

of section 304(a) were satisfied in this case.” Id. at 787 n.18. The Fifth Circuit reversed the District

Court’s ruling. The Fifth Circuit found that that “LPHI’s restatements were not required solely because

of its good-faith reliance on LPHI’s auditor,” and that “LLPHI’s knowing use of materially

underestimated LEs rendered its financial statements noncompliant and thus also required a

restatement.” Id. at 788. The Fifth Circuit explained its reasoning as follows:

        As the language of the statute makes clear, it is not the actual issuance of a restatement
        that must be caused by misconduct; rather, it is the requirement of a restatement that
        must be “due to the material noncompliance of the issuer, as a result of misconduct,”
        with financial reporting requirements. 15 U.S.C. § 7243(a). LPHI’s actual motivation
        in issuing the restatement is therefore of no moment.

        At any rate, LPHI actually issued a restatement using “improved” methodologies to test
        for impairments, and this restatement explicitly tied these new methodologies to the
        changed calculations of impairment on investment in policies. The appellant’s

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        contention that the use of new methodologies—after the SEC had launched its
        investigation into LPHI’s use of materially short LEs—had nothing to do with LPHI’s
        prior knowing use of materially short LEs is highly implausible in light of the record.

Id. at 788.

        Based upon the foregoing, the Fifth Circuit concluded that there was “no basis in the record on

which the district court could conclude that the restatements were not required by LPHI’s misconduct

in connection with its underestimated LEs; therefore, we conclude that the district court clearly erred

in this respect.” Id. at 789. The Fifth Circuit reversed the District Court’s judgment on this issue and

remanded it to the District Court to “to determine the appropriate amount of SOX reimbursements.”

Id. Accordingly, this Court must now determine the appropriate amount of reimbursements under

Section 304.

        3.      The Appropriate Amount of Reimbursement Under Section 304

        As discussed, under “the plain language of the statute,” Pardo is required to reimburse LPHI

for any bonus or other incentive or equity based compensation during the 12–month period following

the filing of each of the reports that had to be restated. E.C. v. Jasper, 883 F. Supp. 2d 915, 932 (N.D.

Cal. 2010), amended, 2010 WL 8898216 (N.D. Cal. Nov. 5, 2010), aff'd, 678 F.3d 1116 (9th Cir. 2012).

The SEC again asks this Court to order Pardo to reimburse LPHI $13,340,371 for certain bonus,

incentive, and equity-based compensation he received in connection with his employment for the

company during the time period from January 16, 2007 through November 22, 2011. While LPHI is

clearly entitled to be reimbursed under Section 304, the SEC is not relying on the correct time frame

to calculate the reimbursements.

        As discussed above, the only restatement in the record that the SEC has relied on in this case

is the 2011 restatement filed by LPHI, which restated its financial statements for Fiscal Years 2009 and

2010. Dkt. No. 246-G 31. In addition, this was the only restatement the Fifth Circuit relied on in its

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decision to reverse and remand the Section 304 issue to the District Court. The Fifth Circuit clarified

in its opinion that its decision to remand the Section 304 reimbursements was based on LPHI’s

restatement issued in 2011 due to its non-compliance with financial reporting requirements for fiscal

years 2009 and 2010. As the Fifth Circuit stated: “In 2011, LPHI restated its financial statements for

fiscal years 2009 and 2010 because its prior quarterly and annual reports did not comply with generally

accepted accounting principles (GAAP).” Life Partners, 854 F.3d at 786. Accordingly, the relevant

reimbursement period is from 2009-2011. According to LPHI’s restatement, its fiscal years ended on

February 28, 2009 and February 28, 2010. Dkt. No. 246-G-31 at 3. LPHI filed its fiscal year 2009 10-

K on May 29, 2009, and its fiscal 2010 report was filed on May 12, 2010. Accordingly, the correct

reimbursement period is from May 29, 2009 to May 12, 2011. Dkt. No. 246-G-29 at 31; Dkt. No. 246-

G-30 at 31.

        The SEC disagrees with this time period and insists that the correct reimbursement time period

should begin January 16, 2017, the date LPHI filed its first false financial reports. Dkt. No. 423 at 11.

However, Section 304 reimbursements are tied to the filing of the restatement and the specific annual

reports that had to be restated not to public filings that violated other security laws. The plain language

of the statute provides that if a CEO or CFO “is required to prepare an accounting restatement due to

the material noncompliance of the issuer, as a result of misconduct, with any financial reporting

requirement under the securities laws the chief executive officer and chief financial officer of the issuer

shall reimburse the issuer for any bonus or other incentive-based or equity-based compensation

received by that person from the issuer during the 12-month period following the first public issuance

or filing with the Commission (whichever first occurs) of the financial document embodying such

financial reporting requirement. . . .” 15 U.S.C. § 7243(a) (emphasis added). Case law also

demonstrates that Section 304 reimbursements are tied to the filing of the restatement and the specific

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annual reports that had to be restated and not to public filings occurring before such restatement. See

Cohen, 622 F.3d at 193 (“Section 304 by its terms requires CEOs and CFOs to reimburse their company

for any bonus or similar compensation, or any profits realized from the sale of company stock, for the

12–month period following a false financial report. . .”); SEC v. Baker, 2012 WL 5499497, at *3 (W.D.

Tex. Nov. 13, 2012) (Sparks, J.) (finding that “there is no dispute Baker and Gluk received § 304

Compensation within the time period covered by the Complaint, i.e., within a year of the various Forms

10–k and 10–q which were subsequently restated.”); Jasper, 883 F. Supp. 2d 915, 932 (“Under the

plain language of the statute, as Company CFO, Defendant is required to reimburse Maxim for any

bonus or profit from sale of Maxim stocks during the 12–month period following the filing of each of

the 10–K Reports that had to be restated.”); SEC v. Shanahan, 624 F. Supp.2d 1072 (E.D. Miss. 2008)

(rejecting the SEC’s argument that it was entitled to damages under § 304 with regard to a company’s

financial statements filed in 2002 despite the fact that the company had never filed a financial

restatement for that period finding that a financial restatement must actually be filed before penalties

may be imposed under the statute).4

        Based upon the foregoing, the correct time period to calculate reimbursements in this case is

tied to the actual restatement filed by LPHI. As clearly stated by the Fifth Circuit and demonstrated by

the record in this case, the 2011 restatement issued by LPHI concerned fiscal years 2009 and 2010.

Accordingly, the correct reimbursement period is the “12-month period following” LPHI’s filing of its




       4
        Similar to the SEC’s argument in this case, in Shanahan, 624 F. Supp.2d at 1078, the SEC
argued that because the 2002 financial statement had contained material errors, a restatement was
required under general accounting principles and thus Section 304 should apply even if the company
had not filed such a restatement. Id. The district court rejected the SEC’s theory and granted the
defendant’s motion for summary judgment holding that the issuer must actually file a financial
restatement before penalties may be imposed under the statute. Id.

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2009 financial statement (filed on May 29, 2009) and 2010 financial statement (filed on May 12, 2010).

Therefore, the correct reimbursement period in this case is from May 29, 2009 to May 12, 2011.

        The SEC’s Motion asks the Court to order Pardo to reimburse LPHI $1,571,689 in bonuses he

received from 2008-2011.5 As noted, however, the correct time period is 2009-2011. The 2011

restatement issued by LPHI shows that Pardo received a total of $1,325,566 in bonuses in years 2009-

2011. Dkt. No. 246-G-31 at p. 47. Pardo has failed to provide the Court with any evidence that

disputes the fact that he received these bonuses. Accordingly, under § 304, Pardo is obligated to

reimburse LPHI $1,325,566 for bonuses he received in years 2009-2011.

        The SEC also asks the Court to order Pardo to reimburse LPHI $11,528,939.42 for the proceeds

he received between February 12, 2007 through January 9, 2009 from the sales of LPHI stock. As

noted, under Section 304, the CEO or CFO must reimburse the company for “any profits realized from

the sale of securities of the issuer during that 12-month period.” 15 U.S.C. § 7243(a)(2). Again,

however, the SEC is seeking reimbursements for stock sales that did not occur during the relevant

reimbursement period. The SEC has failed to point the Court to any evidence showing that Pardo or

his family trust sold any stock during the relevant time period between May 29, 2009 to May 12, 2011.

Dkt. No. 417 at 25 (pointing to evidence of stock sales only from February 12, 2007 to January 9,

2009). Accordingly, the SEC has failed to sustain its burden with regard to its claim that Pardo must

reimburse LPHI $11,528,839.42 for “any profits realized from the sale of securities of the issuer during

that 12-month period.” 15 U.S.C. § 7243(a)(2).



       5
         The SEC also sought $239,843 as reimbursement for Pardo’s country club dues and expenses,
hangar space, cell phone usage, a home computer and tuition and books. However, Pardo claimed in
his response that these payments were reimbursements and not compensation under Section 304. Dkt.
No. 420 at 24. In light of Pardo’s acknowledgment, the SEC now seeks those costs in the computation
of Pardo’s disgorgement, rather than under Section 304. Dkt. No. 423 at 11 n.24.

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       Based upon the foregoing, the Court finds that the appropriate amount of reimbursements under

Section 304 in this case is $1,325,566 for the bonuses Pardo received between 2009-2011.

Accordingly, the Court will recommend that the District Court order Pardo to reimburse LPHI

$1,325,566 under Section 304 of SOX.

                                   III. RECOMMENDATION

       For the reasons set forth above, the Magistrate Court RECOMMENDS that the District

Court GRANT IN PART AND DENY IN PART Plaintiff’s Security and Exchange Commission’s

Motion to Enter Judgment on Remand (Dkt. No. 417) as follows.                 The Magistrate Court

RECOMMENDS that the District Court: (1) ENTER a permanent injunction enjoining Brian D.

Pardo and R. Scott Peden from violating Section 17(a) of the Securities Act of 1933; (2) DENY the

SEC’s request to order disgorgement against Brian D. Pardo and R. Scott Peden; (3) ORDER Brian

D. Pardo and R. Scott Peden to pay civil penalties under Section 17(a) of the Securities Act of 1933 in

the amount of $130,000; (4) ORDER Brian D. Pardo to pay civil penalties under Section 13(a) of the

Securities Act of 1933 in the amount of $3,555,000; (5) ORDER R. Scott Peden to pay civil penalties

under Section 13(a) of the Securities Act of 1933 in the amount of $2,000,000; and (6) ORDER Brian

D. Pardo to reimburse Life Partners Holdings, Inc. $1,325,566 under Section 304 of the

Sarbanes–Oxley Act of 2002.

                                         IV. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm'n, 834 F.2d 419, 421 (5th Cir. 1987).


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         A party's failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the Report

shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466,

472-74 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en

banc).

         SIGNED this 15th day of August, 2018.



                                             _____________________________________
                                             ANDREW W. AUSTIN
                                             UNITED STATES MAGISTRATE JUDGE




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